EXHIBIT
2018 North Carolina Laws 8.L. 2018-33
“S.B. 630”

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GENERAL ASSEMBLY OF NORTH CAROLINA
SESSION 2017

SESSION LAW 2018-33
SENATE BILL 630

AN ACT REVISING THE LAWS PERTAINING TO INVOLUNTARY COMMITMENT IN
ORDER TO IMPROVE THE DELIVERY OF BEHAVIORAL HEALTH SERVICES IN
NORTH CAROLINA.

The General Assembly of North Carolina enacts:

SECTION 1. G.S. 122C-3 reads as rewritten:
"§ 122C-3. Definitions.
The following definitions apply in this Chapter:

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"Commitment examiner" means a physician, an eligible psychologist, or any

health professional or mental health professional who is certified under

G.S. 122C-263.1 to perform the first examination for involuntary commitment
described in G.S. 122C-263(c) or G.S. 122C-283(c) as required by Parts 7 and

8 of this Article,

"Dangerous to himself self or others" means:
a. "Dangerous to hiraself“self" means that within the relevant past:

"Health screening" means an appropriate screening suitable for the symptoms
presented and within the capability of the entity, including ancillary services

routinely available to the entity, to determine whether or not an emergency
medical condition exists. An emergency medical condition exists if an
individual has acute symptoms of sufficient severity, including severe pain,
such that the absence of immediate medical attention could reasonably be
expected to result in placing the individual's health in serious jeopardy, serious
impairment to bodily functions, or serious dysfunction of any bodily organ or

part.

"Incapable" with respect to an individual has the same definition set forth in
G.S. 122C-72(4). An adult individual who is incapable is not the same as an

incompetent. adult unless the adult individual has been adjudicated
incompetent under Chapter 35A of the General Statutes.

"Incompetent adult" means an adult individual who has been adjudicated
ineempetentincompetent under Chapter 35A of the General Statutes.

"Legally responsible person" means: (i) when applied to an adult, who has
been adjudicated incompetent, a guardian; (ii) when applied to a minor, a
parent, guardian, a person standing in loco parentis, or a legal custodian other
than a parent who has been granted specific authority by law or in a custody
order to consent for medical care, including psychiatric treatment; or (iii)
when applied to an adult who is incapable as defined in GS:
122.6-72(6)G.S. 122C-72(4) and who has not been adjudicated inconipetent,

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a health care agent named pursuant to a valid health care power of
atterneycattorney; provided that if an incapable adult does not have a health

care agent or guardian, “legally responsible person" means one of the persons
specified in subdivisions (3) through (7) of subsection (c) of G.S. 90-21.13, to

be selected based on the priority indicated in said subdivisions (3) through (7),

(20b) Local management entity” or "LME" means an area authority,—county

refers to fonctional-responsibilities rather than governance structure-authority.

27a) "Outpatient treatment physician or center” as used in Part 7 of Article 5 of this

Chapter means a physician or center that provides treatment services directly
to the outpatient commitment respondent, An LME/MCO that contracts with

an outpatient treatment physician or center to provide outpatient treatment

services to a respondent is not an outpatient treatment physician or center,
Every LME/MCO is responsible for contracting with qualified providers of
services in accordance with G.S, 122C-141, 122C-142(a),
122C-115.2(b)(1)b., and 122C-115.4(b}(2) to ensure the availability of

qualified providers of outpatient commitment _services_to clients of
LME/MCOs who are respondents to outpatient commitment proceedings and

meet the criteria for outpatient commitment, A contracted provider with an
LME/MCO shall not be designated as an outpatient treatment physician or

center on an outpatient commitment order unless the respondent enrolled with
an LME/MCO or is eligible for services through an LME/MCO, or the
respondent otherwise qualifies for the provision of services offered by the

provider.

SECTION 2. G.S. 122C-4 reads as rewritten:
"§ 122C.4, Use of phrase "client or his-the legally responsible person."

(a) —_ Except as otherwise provided by law, whenever in this Chapter the phrase “client or
his-the legally responsible person" is used, and the client is a minor or an incompetent adult, the
duty or right involved shall be exercised not by the client, but by the legally responsible person.

(b) Except as otherwise provided by law, whenever in this Chapter the phrase “client or

the legally responsible person” is used, and the client is an incapable adult who has not been
adjudicated incompetent under Chapter 35A of the General Statutes, the duty or right involved
shall be exercised not by the client but by a health care agent named pursuant to a valid health

care power of attorney, if one exists, or by the client as expressed in a valid advance instruction
for mental health treatment, if one exists. If no health care power of attorney or advance

instruction. for mental health treatment exists, the legally responsible person for an incapable

adult who has not been adjudicated incompetent under Chapter 35A of the General Statutes shall
be one of the persons listed in subdivisions (3) through (7) of subsection (c) of G.S. 90-21.13, to

be selected based on the priority order indicated in said subdivisions (3) through (7)."
SECTION 3. G.S. 122C-53 reads as rewritten:
"§ 122C-53. Exceptions; client.

(a) A facility may disclose confidential information if the client or his—the_legally
responsible person consents in writing to the release of the information to a specified person.
This release is valid for a specified length of time and is subject to revocation by the consenting
individual.

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(b) A facility may disclose (i) the fact of admission or discharge of a client and (ii) the
time and location of admission or discharge to the client's next of kin whenever the responsible
professional determines that the disclosure is in the best interest of the client.

(c) Upon request a client shall have access to confidential information in his-chent-the
client's record except information that would be injurious to the client's physical or mental
well-being as determined by the attending physician or, if there is none, by the facility director
or his-the facility director's designee. If the attending physician or, if there is none, the facility
director or his-the facility director's designee has refused to provide confidential information to
a client, the client may request that the information be sent to a physician or psychologist of the
client's choice, and in this event the information shall be so provided.

(d) Except as provided by G.S. 90-21.4(b), upon request the legally responsible person
of a client shall have access to confidential information in the client's record; except information
that would be injurious to the client's physical or mental well-being as determined by the
attending physician or, if there is none, by the facility director or his-the facility director's
designee. If the attending physician or, if there is none, the facility director or his-the facility
director's designee has refused to provide confidential information to the legally responsible
person, the legally responsible person may request that the information be sent to a physician or
psychologist of the legally responsible person's choice, and in this event the information shall be
so provided.

(e) A client advocate's access to confidential information and his—the client's
responsibility for safeguarding this information are as provided by subsection (g) of this section.

(f) As used in subsection (g) of this section, the following terms have the meanings
specified:

(1) "Internal client advocate" means a client advocate who is employed by the
facility or has a written contractual agreement with the Department or with
the facility to provide monitoring and advocacy services to clients in the
facility in which the client is receiving services;-andservices.

(2) "External client advocate” means a client advocate acting on behalf of a
particular client with the written consent and autherizatien;authorization
under either of the following circumstances:

a. In the case of a client who is an adult and who has not been adjudicated
incompetent under Chapter 35A or former Chapters 33 or 35 of the
General Statutes, of the eltent:erclient.

b. In the case of any other client, of the client and his—the legally
responsible person.

(2) An internal client advocate shall be granted, without the consent of the client or his
the legally responsible person, access to routine reports and other confidential information
necessary to fulfill hissmonitoring and advocacy functions. In this role, the internal client
advocate may disclose confidential information received to the client involved, to isthe legally
responsible person, to the director of the facility or his-the director's designee, to other individuals
within the facility who are involved in the treatment or habilitation of the client, or to the
Secretary in accordance with the rules of the Commission. Any further disclosure shall require
the written consent of the client and his-the legally responsible person. An external client
advocate shall have access to confidential information only upon the written consent of the client
and his legally responsible person. In this role, the external client advocate may use the
information only as authorized by the client and his legally responsible person.

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SECTION 4. G.S, 122C-54 reads as rewritten:
"§ 122C-54, Exceptions; abuse reports and court proceedings.

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(al) Upon a determination by the facility director or his-the facility director's designee that
disclosure is in the best interests of the client, a facility may disclose confidential information for
purposes of filing a petition for involuntary commitment of a client pursuant to Article 5 of this
Chapter or for purposes of filing a petition for the adjudication of incompetency of the client and
the appointment of a guardian or an interim guardian under Chapter 35A of the General Statutes.

is held at a facility under involuntary commitment or voluntary admission proceedings that

require district court hearings and-or rehearings pursuant to Article 5 of this Chapter-Chapter,
certified copies of written results of examinations, gathered during the course of the current
commitment or admission, shall be furnished by the facility to the client's counsel, the attorney
representing the State's interest, and the court. Upon request, the facility shall disclose to
respondent's counsel, the attorney representing the State's interest, and the court confidential
information collected, maintained, or used in attending or treating the respondent during the
proceeding for voluntary admission or involuntary commitment. Other medical records shall be
furnished only upon court order. The confidentiality of client information shall be preserved in
all matters except those pertaining to the necessity for admission or continued stay in the facility

or commitment i under review. “Fhe relevance of confidential information Jor whieh disclosures

(e) Upon the request of the legally responsible person or the minor admitted or
committed, and after that minor has both been released and reached adulthood, the court records
of that minor made in proceedings pursuant to Article 5 of this Chapter may be expunged from
the files of the court. The minor and histhe minor's legally responsible person shall be informed
in writing by the court of the right provided by this subsection at the time that the application for
admission is filed with the court.

(g) A facility may disclose confidential information to an attorney who represents either
the facility or an employee of the facility, if such information is relevant to litigation, to the
operations of the facility, or to the provision of services by the facility. An employee may discuss
confidential information with his-the employee's attorney or with an attorney representing the
facility in which he-the employee is employed.

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SECTION 5. G.S. 122C-55 reads as rewritten:
"§ 122C-55, Exceptions; care and treatment,

(a) Any facility may share confidential information regarding any client of that facility
with any other facility when necessary to coordinate appropriate and effective care, treatment or
habilitation of the client. For the purposes of this section, eeerdinate-the following definitions
apply:

(1) =‘ "Coordinate" means the provision, coordination, or management of mental
health, developmental disabilities, and substance abuse services and other
health or related services by one or more facilities and includes the referral of
a client from one facility to another.

(2) "Facility" and “area facility" include an area authority.

GB) "Secretary" includes any primary care case management programs that
contract with the Department to provide a primary care case management

program for recipients of publicly funded health and related services.
(al) Any facility may share confidential information regarding any client of that facility

with the Secretary, and the Secretary may share confidential information regarding any client
with a facility when necessary to conduct quality assessment and improvement activities or to

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coordinate appropriate and effective care, treatment or habilitation of the client. For purposes of
this subsection, subsection (a6), and subsection (a7) of this section, the purposes or activities for
which confidential information may be disclosed include, but are not limited to, case
management and care coordination, disease management, outcomes evaluation, the development
of clinical guidelines and protocols, the development of care management plans and systems,
population-based activities relating to improving or reducing health care costs, and the provision,
coordination, or management of mental health, developmental disabilities, and substance abuse
services and other health or related services. ion;

(a2) Any areaor State facility 0 or the psychiatric « service eof the University of North Carolina
Hospitals at Chapel Hill may share confidential information regarding any client of that facility
with any other area facility or State facility or the psychiatric service of the University of North
Carolina Hospitals at Chapel Hill when necessary to conduct payment activities relating to an
individual served by the facility. Payment activities are activities undertaken by a facility to
obtain payment or previde-receive reimbursement for the provision of services and may include,
but are not limited to, determinations of eligibility or coverage, coordination of benefits,
determinations of cost-sharing amounts, claims management, claims processing, claims
adjudication, claims appeals, billing and collection activities, medical necessity reviews,
utilization management and review, precertification and preauthorization of services, concurrent
and retrospective review of services, and appeals related to utilization management and review.

(a3) Whenever there is reason to believe that a client is eligible for benefits through a
Department program, any State or area-facility or the psychiatric service of the University of
North Carolina Hospitals at Chapel Hill may share confidential information regarding any client
of that facility with the Secretary, and the Secretary may share confidential information regarding
any client with an area facility or State facility or the psychiatric services of the University of
North Carolina Hospitals at Chapel Hill. Disclosure is limited to that information necessary to
establish initial eligibility for benefits, determine continued eligibility over time, and obtain
reimbursement for the costs of services provided to the client.

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(cl) A facility may furnish confidential information in its possession to the sheriff of any
county when requested by the sheriff regarding any client of that facility who is confined in the
county's jail or jail annex when the inmate has been determined by the county jail medical unit
to be in need of treatment for mental illness, developmental disabilities, or substance abuse. ‘The
sheriff may furnish to a facility confidential information in its possession about treatment for
mental illness, developmental disabilities, or substance abuse that the county jail medical unit

has provided to any present or former inmate if the inmate is presently seeking treatment from
the requesting facility or if the inmate has been involuntarily committed to the requesting facility

for inpatient or outpatient treatment. Under the circumstances described in this subsection, the
consent of the chent or inmate shall not be required in order for this information to be furnished
and the information shall be furnished despite objection by the client or inmate. Confidential

information disclosed pursuant to this subsection is restricted from further disclosure.
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SECTION 6, G.S. 122C-115.4 reads as rewritten:
“§ 122C-115.4. Functions of local management entities.

(b) The primary functions of an LME are designated in this subsection and shall not be
conducted by any other entity unless an LME voluntarily enters into a contract with that entity
under subsection (c) of this section. The primary functions include all of the following:

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(7a) Community crisis services planning in accordance with G.S. 122C-202.2.

SECTION 7. G.S. 122C-117 reads as rewritten:
"§ 122C-117. Powers and duties of the area authority.
(a) The area authority shall do all of the following:

(18) Develop and adopt community crisis services plans in accordance with
G.S. 122C-202.2

SECTION 8. Part 1 of Article 5 of Chapter 122C of the General Statutes is amended
by adding a new section to read:
"$ 122C-202.2, LME/MCO community crisis services plan; commitment examiners;

transporting agencies; training; collaboration.

(a) Every LME/MCO shail adopt a community crisis services plan in accordance with
this section to facilitate first examination in conjunction with a health screening at the same
location required pursuant to Parts 7 and 8 of this Article within its catchment area. The
community crisis services plan for the LME/MCO's catchment area shall be comprised of
separate plans, known as “local area crisis services plans" for each of the local areas or regions
within the catchment area that the LME/MCO identifies as an appropriate local planning area,

taking into consideration the available resources and interested stakeholders within a particular

geographic area or region of the catchment area. Each LME/MCO may determine the number

and geographic boundaries of the local planning areas within its catchment area. Each local area
crisis services plan shall, for the local area covered by the local plan, do at least all of the
following:

qd Incorporate the mvoluntary commitment transportation agreement adopted
pursuant to _G.S. 122C-251(g) for the cities and counties within the local
planning areas which identifies the law enforcement officers, designees under
G.S. 122C-251{#), or individuals or entities otherwise required to provide
custody and transportation of a respondent for a first examination in
conjunction with a health screening at the same location required by
G.S. 122C-263f(a) and G.S, 122C-283. Notwithstanding the foregoing,
counties and cities shall retain the responsibilities for custody and
transportation set forth in this Article, except as otherwise set forth in a plan
developed, agreed upon, and adopted in compliance with this section and
G.S. 122C-251(¢).

(2) Identify one or more area facilities or other locations in accordance with
G.S. 122C-263 and G.S, 122C-283. Each LME/MCO shall contract with one
or more facilities or other locations described in G.S.122C-263 and
G.S. 122C-283 for the provision of health screenings and first examinations
required by G.S. 122C-263 and G.S. 122C-283 for the provision of first
examination in conjunction with a health screening required by
G.S. 122C-263 and G.S, 122C-283, to meet the needs of its local planning
area.

GB) Identify available training for law enforcement personnel and other persons
designated or required under G.S. 122C-251(g) to provide transportation and
custody of involuntary commitment respondents. Law enforcement officers
may. request to participate in the training program identified by the
LME/MCO, Persons who are designated in compliance _ with
G.S. 122C-251(2) to provide all or part of the transportation and custody

required for involuntary commitment proceedings under this Article and who
are not law enforcement officers shall participate in the training. To the extent

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feasible, the identified training shall address the use of de-escalation strategies
and techniques, the safe use of force and restraint, respondent rights relevant
to custody and transportation, the location of any area facilities identified by
the LME/MCO pursuant to subdivision (1) of this subsection, and_the
completion and return of the custody order to the clerk of superior court. The
training identified by the LME/MCO may be comprised of one or more
programs and may include a Crisis Intervention Team program or other mental
health training program or a combination of these programs.

(b) Law enforcement agencies, acute care hospitals, magistrates, area facilities with
identified commitment examiners, and other affected agencies shall participate with the
LME/MCO in the development of the local area crisis services plans described in this section.
Other stakeholders and community partners identified by the LME/MCO_ may be invited to
participate in the planning, No local area crisis services plan developed under this section shall
be adopted or thereafter be effective or implemented unless such plan first has been mutually
agreed upon in writing by all entities identified in the plan pursuant to subsection (a) of this
section. If any member of the Crisis Planning Committee fails to agree to the plan in writing, the
Secretary shall develop a procedure to attempt to resolve the conflict in order to achieve approval
of the Plan.

(c)} The plans adopted under this section may, by mutual agreement of all entities
identified in the plan, address any other matters necessary to facilitate the custody, transportation,
examination, and treatment of respondents to commitment proceedings under Parts 7 and 8 of
this Article."

SECTION 9. G.S, 122C-206 reads as rewritten:
"§ 122C-206. Transfers of clients between 24-hour faeilities.facilities; transfer of clients
from 24-hour facilities to acute care hospitals.

(a) Before transferring a voluntary adult client from one 24-hour facility to another, the
responsible professional at the original facility shall: (i) get authorization from the receiving
facility that the facility will admit the client; (ii) get consent from the client; and (iii) if consent
to share information is granted by the client, or if the disclosure of information is permitted under
G.S. 122C-53(b), notify the next of kin of the time and location of the transfer. The preceding
requirements of this paragraph may be waived if the client has been admitted under emergency
procedures to a State facility not serving the client's region of the State. Following an emergency
admission, the client may be transferred to the appropriate State facility without consent
according to the rules of the Commission.

(b) Before transferrmg a respondent held for a district court hearing or a committed
respondent from one 24-hour facility to another, the responsible professional at the original
facility shall:

(1) Obtain authorization from the receiving facility that the facility will admit the
respondent; and

(2) Provide reasonable notice to the respendent—er-tespondent or the legally
responsible person, and _to the respondent's counsel, of the reason for the
transfer and document the notice in the client's record.

No later thatthan 24 hours after the transfer, the responsible professional at the original
facility shall notify the petitioner, the clerk of court, the respondent's counsel, and, if consent is
granted by the respondent, or if the disclosure of the information is permitted under G.S, 122C-53
or other applicable law, the next of kin, that the transfer is cormpleted-complete. If the transfer is
completed before the judicial commitment hearing, these proceedings shall be initiated by the
receiving facility._If the respondent is a minor, an incompetent adult, or is deemed incapable,

then the responsible professional at the original facility shall, not later than 24 hours after the
transfer, notify the respondent's legally responsible person of the location of the transfer and that

the transfer is complete.

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(c) Minors and incompetent adults, admitted pursuant to Parts 3 and 4 of this Article,
may be transferred from one 24-hour facility to another following the same procedures specified
in subsection (b) of this section. In addition, the legally responsible person shall be consulted
before the proposed transfer-transfer and notified, within 24 hours after the transfer is complete,
of the location of the transfer and that the transfer is complete. If the transfer is completed before
the judicial determination required in G.S. 122C-223 or G.S. 122C-232, these proceedings shall
be initiated by the receiving facility.

(cl) If a client described in subsections (b) or (c) of this section is to be transferred from
one 24-hour facility to asether-another, or to an acute care hospital pursuant to subsection (e) of
this section, and transportation is needed, the responsible professional at the original facility shall
notify the clerk of court or magistrate, and the clerk of court or magistrate shall issue a custody
order for transportation of the client as provided by G.S, 122C-251.

(d) Minors and incompetent adults, admitted pursuant to Part 5 of this Article and
incapable adults admitted pursuant to Part 2A of this Article, may be transferred from one
24-hour facility to another provided that prior to transfer the responsible professional at the

original facility shall:
(1) Obtain authorization from the receiving facility that the facility will admit the
client; and

(2) Provide reasonable notice to the client regarding the reason for transfer and
document the notice in the client's record; and

(3) Provide reasonable notice to and consult with the legally responsible person
regarding the reason for the transfer and document the notice and consultation
in the client's record.

No later than 24 hours after the transfer, the responsible professional at the original facility
shall notify the legally responsible person that the transfer is completed,

(e) The responsible professional may transfer a client from one 24-hour facility to another
or to an acute care hospital for emergency medical treatment, emergency medical evaluation, or
emergency surgery without notice to or consent from the client. Within a reasonable period of
time the responsible professional shall notify the next of kin or the legally responsible person of
the client of the transfer.

(f) When a client is transferred from one 24-hour facility to another facility-solely for
medical reasons, the client shall be returned to the original facility when the medical care is
completed unless the responsible professionals at both facilities concur that discharge of the
client who is not subject to G.S. 122C-266(b) is appropriate.

(f1) When a client is transferred from a 24-hour facility to an acute care hospital solely

for medical reasons, the hospital shall return the client to the original facility as soon as the next
client space becomes available at the original facility after completion of the client's medical

care, With the exception of facility-based crisis centers, the original facility must allow at least

12 hours for the client's return before assigning the client's room or bed to another patient, unless

both facilities agree that return of the client in this time period is not feasible, The original facility
must accept the return of the client in priority over other clients seeking admission, except in the
cases of patients designated incapable to proceed _to trial by court order. If the responsible
professionals at both facilities concur that discharge of a client who is not subject to

G.S. 122C-266(b) is appropriate, the client may be discharged. If, at the time of the transfer, a
client is being held under a custody order pending a second commitment examination or a district
court hearing under involuntary commitment proceedings, the custody order shall remain valid
throughout the period of time necessary to complete the client's medical care and transport the

client between the 24-hour facility and the acute care hospital; provided, however, that the

requirement for a timely hearing under G.S. 122C-268(a) applies. Any decision to terminate the

proceedings because the respondent no longer meets the criteria for commitment or because a

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hearing cannot be held within the time required by G.S. 122C-268(a) shall be documented and

reported to the clerk of superior court in accordance with G.S. 122C-266(c).
(g) The Commission may adopt rules to implement this section."
SECTION 10. G.S. 122C-210.1 reads as rewritten:
"§ 122C-210.1. Immunity from liability.

No faeility facility, person, or entity, including an area facility, a facility licensed under this
Chapter, an acute care hospital, a general hospital, an area authority, a law enforcement officer,
an LME, or an LMRE/MCO, or any of #s-their officials, staff, or employees, or any other physician
or ethez individual who is responsible for the custody, transportation, examination, admission,
management, supervision, treatment, or release of a respondent or_client and who feHews

is not grossly negligent, is civilly or
criminally liable, personally or otherwise, for that person’ s or entity's actions or omissions arising
from these responsibilities or for the actions or omissions of the-a respondent or client. This
immunity is in addition to any other legal immunity from liability to which these facilities
persons, entities, facilities, agencies, or individuals may be entitled and applies to actions
performed in connection with, or arising out of, the admission—or-cemmitment custody,
transportation, examination, commitment, admission, management, supervision, treatment, or
release of any individual pursuant to or under the authority of this Artiele-Article or otherwise."
SECTION 11. G.S. 122C-210,3 reads as rewritten:

"§$ 122C-210.3. Electronic and facsimile transmission of custody orders.

A custody order entered by the clerk or magistrate pursuant to this Chapter may be delivered
to the law enforcement officer or other person designated or required to provide transportation
and custody pursuant to G.S. 122C-251 by electronic or facsimile transmission."

SECTION 12. G.S. 122C-211 reads as rewritten:
"§ 122C-211, Admissions.

(a) Except as provided in subsections (b) through €£-(f) of this section, any individual,
including a parent in a family unit, in need of treatment for mental illness or substance abuse may
seek voluntary admission at any facility by presenting himself or herself for evaluation to the
facility. No physician's statement is necessary, but a written application for evaluation or
admission, signed by the individual seeking admission, or the individual's legally responsible
person, is required, The application form shall be available at all times at all facilities. However,
no one shall be denied admission because application forms are not available. An evaluation shall
determine whether the individual is in need of care, treatment, habilitation or rehabilitation for
mental illness or substance abuse or further evaluation by the facility. Information provided by
family members regarding the individual's need for treatment shall be reviewed in the evaluation.
If applicable, information provided in an advance instruction for mental health treatment by the
client or the client's legally responsible person shall be reviewed in the evaluation, An individual

may not be accepted as a client if the facility determines that the individual does not need or
cannot benefit from the care, treatment, habilitation, or rehabilitation available and that the
individual is not in need of further evaluation by the facility. The facility shall give to an
individual who is denied admission a referral to another facility or facilities that may be able to
provide the treatment needed by the client.

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SECTION 13. G.S. 122C-212 reads as rewritten:

"§ 122C-212, Discharges.
(a) Except as provided in subseetiens-subsection (b) aadte}-of this section, an individual
who has been voluntarily admitted to a facility shall be discharged upon his-the individual's own
request. A request for discharge from a 24-hour facility shall be in writing.
(b)  Anindividual who has been voluntarily admitted to a 24-hour facility may be held for
72 hours after his-the individual's written application for discharge is submitted.

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SECTION 14. Article 5 of Chapter 122C of the General Statutes is amended by

adding a new Part to read:
"Part 2A. Voluntary Admissions and Discharges; Incapable Adults; EKacilities for Individuals

With Mental Il]ness and Substance Use Disorder.
"§ 122C-213. Voluntary admission of individuals determined to be incapable.

(a) An individual in need of treatment for mental illness and who is incapable, as defined
in G.S. 122C-3 and G.S. 122C-72, may be admitted to and treated in a facility pursuant to an
advance instruction for mental health treatment executed in accordance with Part 2 of Article 3
of this Chapter or pursuant to the authority of a health care agent named in a yalid health care
power of attorney executed in accordance with Article 3 of Chapter 32A of the General Statutes,

(b) Except as otherwise provided in this Part, G.S. 122C-211 applies to admissions of

incapable adults under this Part.
(c) An advance instruction for mental health treatment shall be governed by Part 2 of

Article 3 of this Chapter.

(d) When a health care power of attorney authorizes a health care agent pursuant to
G.S. 32A-19 to make mental health treatment decisions for an incapable individual, the health
care agent shall act for the individual in applying for admission and consenting to treatment at a
facility, consistent with the extent and limitations of authority granted in the health care power
of attorney for as long as the individual remains incapable.

(e) A 24-hour facility may not hold an individual under a voluntary admission who is
determined to be incapable at the time of admission and who is admitted pursuant to an advance
instruction for mental health treatment for more than 15 days, except as provided in
G.S. 122C-211(b): provided, however, that an individual who regains sufficient understanding
and capacity to make and communicate mental health treatment decisions may elect to continue
his or her admission and treatment pursuant to the individual's informed consent in accordance
with G.S. 122C-211, A 24-hour facility may file a petition for involuntary commitment pursuant
to Article 5 of this Chapter if an individual meets applicable criteria at the conclusion of this

15-day period.
"§ 122C-214, Discharge of individuals determined to be incapable.

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(a) The responsible professional shall unconditionally discharge an individual admitted
to a facility pursuant to this Part at any time it is determined the individual is no longer mentally
ill or in need of treatment at the facility.

(b) An individual who has been voluntarily admitted to a facility pursuant to this Part and
who is no longer deemed incapable shall be discharged upon his or her own request. An
individual's request for discharge from a 24-hour facility shall be in writing. A facility may hold
an individual who has been voluntarily admitted to a 24-hour facility pursuant to this Part for up
to 72 hours after the individual submits a written request for discharge, but the facility shall
release the individual upon the expiration of 72 hours following submission of the written request
for discharge unless the responsible professional obtains an order under Part 7 or 8 of this Article
to hold the client,

(c) A health care agent named in a valid health care power of attorney or the legally
responsible person may submit on behalf of an individual admitted to a facility under this Part a
written request to have the individual discharged from the facility, provided (i) the individual
remains incapable at the time of the request and (ii) the request is not inconsistent with the
authority expressed in the health care power of attorney or other controlling document. A facility
may hold an individual for up to 72 hours after_a health care agent submits a written request for
the individual's discharge but shall release the individual upon the expiration of 72 hours
following submission of the written request for discharge unless the responsible professional
obtains an order under Part 7 or 8 of this Article to hold the client.

(d) If, in the opinion of a physician or eligible psychologist, an individual admitted to a
facility under this Part regains sufficient understanding and capacity to make and communicate
mental health treatment decisions while in treatment, and the indiyidual refuses to sign an
authorization for continued treatment within 72 hours after regaining decisional capacity, the
facility shall discharge the individual unless the responsible professional obtains an order under
Part 7 or 8 of this Article to hold the client,

(e) In any case in which an order ig issued authorizing the involuntary commitment of an
individual admitted to a facility under this Part, the facility's further treatment and holding of the

individual shall be in accordance with Part 7 or 8 of this Article, whichever is applicable."
SECTION 15. G.S. 122C-221 reads as rewritten:
"§ 122C-221. Admissions.

{a) Except as otherwise provided in this Part, a minor inay be admitted to a facility if the
minor is mentally ill or a substance abuser and in need of treatment. Except as otherwise provided
in this Part, the provisions of G.S. 122C-211 shall apply to admissions of minors under this Part.
Except as provided in G.S. 90-21.5, in applying for admission to a facility, in consenting to
medical treatment when consent is required, and in any other legal procedure under this Article,
the legally responsible person shall act for the minor. The application of the minor shall be in
writing and signed by the legally responsible person. If a minor reaches the age of 18 while in
treatment under this Part, further treatment is authorized only on the written authorization of the
client or under the provisions of Part 7 or Part 8 of Article 5 of this Chapter.

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SECTION 16. G.S. 122C-224(c) reads as rewritten:
"§ 122C-224, Judicial review of voluntary admission.

{c) Within 24 hours after admission, the facility shall notify the clerk of court in the
county where the facility is located that the minor has been admitted and that a hearing for
concurrence in the admission must be scheduled. At the time notice is given to schedule a hearing, —
the facility shall (i) notify the clerk of the names and addresses of the legally responsible person
and the responsible prefessienal-professional and (ii) provide the clerk with a copy of the legally
responsible person's written application for admission of the minor and the facility's written
evaluation of the minor, both of which are required under G.S. 122C-21 1(a)."

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SECTION 17. Part 4 of Article 5 of Chapter 122C of the General Statutes is amended
by adding a new section to read:
"§ 122C-230. Applicability of Part 4.

This Part applies to adults who are adjudicated incompetent by a court of competent
jurisdiction. This Part does not apply to the admission of adults who are deemed incapable but
who have not been adjudicated incompetent."

SECTION 18. G.S. 122C-232 reads as rewritten:
"§ 122C-232. Judicial determination.

(a) When an incompetent adult is admitted to a 24-hour facility where the incompetent
adult will be subjected to the same restrictions on his-freedom of movement present in the State
facilities for the mentally ill, or to similar restrictions, a hearing shall be held in the district court
in the county in which the 24-hour facility is located within 10 days ef-after the day thatthe
incompetent adult is admitted to the facility. A continuance of not more than five days may be
granted upon motion efany of the following:

(1) The courtcourt.

(2) Respondent's counsel-orcounsel.

(3) The responsible professional.
The Commission shall adopt rules governing procedures for admission to other 24-hour facilities
not falling within the category of facilities where freedom of movement is restricted; these rules
shall be designed to ensure that no incompetent adult is improperly admitted to or remains in a
facility.

(al) Prior to admission, the facility shall provide the incompetent adult and the legally
responsible person with written information describing the procedures for court review of the
admission and the procedures for discharge.

(a2) Within 24 hours after admission, the facility shall notify the clerk of court of the
county in which the facility is located that the incompetent adult has been admitted and that a
hearing for concurrence in the admission must be scheduled. At the time the facility provides
notice to the court to schedule a hearing for concurrence, the facility shall notify the clerk of the
names and addresses of the legally responsible person and the responsible professional and
provide a copy of the legally responsible person's written application for evaluation or admission
of the incompetent adult and the facility's evaluation of the incompetent adult,

(b) In any case requiring the hearing described in subsection (a) of this section, no petition
is necessary; the written application for voluntary admission shall serve as the imtiating
document for the hearing. The court shall determine whether the incompetent adult is mentally
ill or a substance abuser and is in need of further treatment at the facility. Further treatment at the
facility should be undertaken only when lesser measures will be insufficient. If the court finds by
clear, cogent, and convincing evidence that these requirements have been met, the court shall
concur with the voluntary admission of the incompetent adultadult and set the length of the
authorized admission for a period not to exceed 90 days. If the court finds that these requirements
have not been met, it shall order that the incompetent adult be released. A finding of
dangerousness to self or others is not necessary to support the determination that further treatment
should be undertaken.

(d) In addition to the notice of hearings and rehearings to the incompetent adult and his
or her counsel required under Part 7 of this Article, notice shall be given by the clerk to the legally
responsible persen,;person or his-suceessor-a_ successor to the legally responsible person. The
legally responsible person,or-hisperson or a successor to the legally responsible person may also
file with the clerk of court a written waiver of his-the right to receive notice."

SECTION 19. G.S. 122C-251 reads as rewritten:

"§ 122C-251. Franspertatien.Custody and transportation,

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(a) Except as provided in subsections }-(c), (f), and (g), transportation of a respondent
within a county under the involuntary commitment proceedings of this Article, including
admission and discharge, shall be provided by the city or county. The city has the duty to provide
transportation of a respondent who is a resident of the city or who is physically taken into custody
in the city limits. The county has the duty to provide transportation for a respondent who resides
in the county outside city limits or who is physically taken into custody outside of city limits.
However, cities and counties may contract with each other to provide transportation.

(b) Except as provided in subsections (c), (f), and (g) or in G.S. 122C-408(b),
transportation between counties under the involuntary commitment proceedings of this Article
for a first examination as described in G.S. 122C-263(a) and G.S. 122C-283(a) and for admission
to a 24-hour facility shall be provided by the county where the respondent is taken into custody.
Transportation between counties under the involuntary commitment proceedings of this Article
for respondents held in 24-hour facilities who have requested a change of venue for the district
court hearing shall be provided by the county where the petition for involuntary commitment was
initiated. Transportation between counties under the involuntary commitment proceedings of this
Article for discharge of a respondent from a 24-hour facility shall be provided by the county of
residence of the respondent. However, a respondent being discharged from a facility may use his
own transportation al his own expense.

(c) Transportation of a respondent may be (i) by city- or county-owned vehicles—or
vehicles, (ii) by private vehicle by contract with the city or eeunty-county, or (ili) as provided in
an agreement developed and adopted under subsection (g) of this section and G.S. 122C-202.2.
To the extent feasible, law enforcement officers transporting respondents shall dress in plain
clothes and shall travel in unmarked vehicles. Further, law enforcement officers, to the extent
possible, shall advise respondents when taking them into custody that they are not under arrest
and have not committed a crime, but are being taken into custody and transported to receive
treatment and for their own safety and that of others.

(d) To the extent feasible, in providing transportation of a respondent, a city or county
shall provide a driver or attendant who is the same sex as the respondent, unless the
jaw-enfereement—law_ enforcement officer allows a family member of the respondent to
accompany the respondent in lieu of an attendant of the same sex as the respondent.

(e) In taking custody and providing transportation as required by this section, the
law-enfercementlaw enforcement officer may use reasonable force to restrain the respondent if
it appears necessary to protect himselfthe law enforcement officer, the respondent, or others.
Any use of restraints shall be as reasonably determined by the officer to be necessary under the
circumstances for the safety of the respondent, the law enforcement officer, and other persons.
Every effort to avoid restraint of a child under the age of 10 shall be made by the transporting
officer unless the child's behavior or other circumstances dictate that restraint is necessary. The
law enforcement officer shall respond to all inquiries from the facility concerning the
respondent's behavior and the use of any restraints related to the custody and transportation of
the respondent, except in circumstances where providing that information is confidential or
would otherwise compromise a law enforcement investigation. No taw-ernfercement—law
enforcement officer or other person designated or required to provide custody or transport of a
client under _G.S. 122C-251 may be held criminally or civilly liable for assault, false
imprisonment, or other torts or crimes on account of reasonable measures taken under the
authority of this Article.

(H Notwithstanding the provisions of subsections (a), (b), and (c) of this section, a clerk,
a magistrate, or a district court judge, where applicable, may authorize the family or immediate
friends of the respondent, if they so request, to transport the respondent in accordance with the
procedures of this Article. This authorization shall only be granted in cases where the danger to
the public, the family or friends of the respondent, or the respondent himself or herself is not

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substantial. The family or immediate friends of the respondent shall bear the costs of providing
this transportation.

(g) The governing body of a city or county may-shall adopt a plan known as an
"involuntary commitment transportation agreement" or “transportation agreement" for the
custody and transportation of respondents in involuntary commitment proceedings ##-under this

tele. Article as follows:

qd) Law enforcement and other affected agencies, including local acute_care
hospitals and other mental health providers, shall participate in developing the
transportation agreement, The area authority may participate in developmg
the transportation agreement.

(2) ‘The transportation agreement may designate law enforcement officers,
volunteers, or other public or private ageney-personnel may-be-designated- who
have agreed pursuant to subsection (g) of this section to provide all or parts of

the custody and transportation required by involuntary commitment
proceedings. Persons so designated or otherwise required to provide all or
parts of the custody and transportation required by involuntary commitment
proceedings shall be trained as set forth in G.S. 122C-202.2(a)(3), and the plan
shall assure adequate safety and protections for both the public and the
respondent. Law-ente 76 ected acencies, and the ares-authority

i j Any person or agency designated or required
to provide all or parts of the custody and transportation required by
involuntary commitment proceedings shall follow the procedures in this
Article. References in this Article to a few-enfercementlaw enforcement
officer apply to this-persen-any person or entity designated to provide custody
or transportation. The transportation agreement may provide that private
personnel or agencies may contract for transportation services to transport
respondents under involuntary commitment from one entity to another.

(3) Aperson shall not be designated under subsection (g) of this section without
that person's written consent and the written consent of his or her employer, if
applicable. An agency, corporation, or entity shall not be designated without
the written consent of that agency, corporation, or entity. Any person, agency,
corporation, or other entity shall be designated to provide only the services
which the person, agency, corporation, or other entity has previously

consented in writing to provide and shall be permitted to withdraw from or
discontinue providing services, in whole or in part, upon written notice to the

designating governing body, The transportation agreement shall be submitted
to the magistrates in the city or county's judicial district, to the county clerks
of court, to the LME/MCO that serves the city or county, and to the Division
of Mental Health, Developmental Disabilities, and Substance Abuse Services
on or before January 1, 2019. If the city or county modifies the transportation

agreement, it will submit the modified agreement to their magistrates in their
judicial district, county clerks of court, the LME/MCO that serves the city or

county, and the Division of Mental Health, Developmental Disabilities, and
Substance Abuse Services at least 10 days prior to the effective date of the

new plan.

(4) Counties and cities shall retain and be required to perform the responsibilities
set forth in this Article, except_as set forth in a plan developed, agreed upon,
and adopted in compliance with this subsection.

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(h) The cost and expenses ef transperting-of custody and transportation of a respondent
te-or-fronta24-heur facility-is-as required by the involuntary commitment procedures of this
Article, to the extent they are not reimbursed by a third-party insurer, are the responsibility of the
county of residence of the respendent-respondent, to the extent they are not reimbursed by a
third-party insurer. The State (when providing transportation under G.S. 122C-408(b)), a city, or
a county is entitled to recover the reasonable cost of transportation from the county of residence
of the respondent. The county of residence of the respondent shall reimburse the State, another
county, or a city the reasonable transportation costs incurred as authorized by this subsection.
The county of residence of the respondent is entitled to recover the reasonable cost of
transportation it has paid to the State, a city, or a county. Provided that the county of residence
provides the respondent or other individual liable for the respondent's support a reasonable notice
and opportunity to object to the reimbursement, the county of residence of the respondent may
recover that cost from:

(1) The respondent, if the respondent is not indigent;

(2) Any person or entity that is legally liable for the resident's support and
maintenance provided there is sufficient property to pay the cost;

(3) Any person or entity that is contractually responsible for the cost; or

(4) Any person or entity that otherwise is liable under federal, State, or local law
for the cost."

SECTION 20. G.S. 122C-253 reads as rewritten:

"§ 122C-253. Fees under commitment order.

Nothing contained in Parts 6, 7, or 8 of this Article requires a private physician, private
psychologist, commitment examiner, or private facility to accept a respondent as a client either
before or after commitment. Treatment at a private facility or by a private physician-or-private
psycholegist_physician, psychologist, or commitment examiner is at the expense of the
respondent to the extent that the charges are not disposed of by contract between the area
authority and the private facility. An area authority and its contract agencies shall set and recover
fees for inpatient or outpatient treatment services provided under a commitment order in
accordance with G.S, 122C-146."

SECTION 21. G.S, 122C-255 reads as rewritten:
"§ 122C-255. Report required.

Fach 24-hour residential-facility that (i) falls under the
category of nonhospital medical detoxification, facility-based crisis service, or inpatient hospital
treatment, (ii) is not a State facility under the jurisdiction of the Secretary of Health and Human
Services, and (iii) is designated by the Secretary of Health and Human Services as a facility for
the custody and treatment of individuals under a petition of involuntary commitment pursuant to
G.S. 122C-252 and 10A NCAC 26C .0101 shall submit a written report on involuntary
commitments each January 1 and each July 1 to the Department of Health and Human Services,
Division of Mental Health, Developmental Disabilities, and Substance Abuse Services. The
report shall include all of the following:

(1} The number and primary presenting conditions of individuals receiving
treatment from the facility under a petition of involuntary commitment.

(2) The number of individuals for whom an involuntary commitment proceeding
was initiated at the facility, who were referred to a different facility or
program.

(3) The reason for referring the individuals described in subdivision (2) of this
section to a different facility or program, including the need for more intensive
medical supervision."

SECTION 22. G.S. 122C-261 reads as rewritten:

"§ 122C-261. Affidavit and petition before clerk or magistrate when immediate
hospitalization is not necessary; custody order.

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(a) Anyone who has knowledge of an individual who is mentally ill and either (i)
dangerous to self, as defined in G.S. 122C-3(11)a., or dangerous to others, as defined in
G.S. 122C-3(11)b., or (ii) in need of treatment in order to prevent further disability or
deterioration that would predictably result in dangerousness, may appear before a clerk or
assistant or deputy clerk of superior court or a magistrate and execute an affidavit to this effect,
and petition the clerk or magistrate for issuance of an order to take the respondent into custody
for examination by a physician-or_eligible-psychologist-commitment examiner, The affidavit
shall include the facts on which the affiant's opinion is based. If the affiant has knowledge or
reasonably believes that the respondent, in addition to being mentally ill, is also mentally
retarded, this fact shall be stated in the affidavit. Jurisdiction under this subsection is in the clerk
or magistrate in the county where the respondent resides or is found.

(b) If the clerk or magistrate finds reasonable grounds to believe that the facts alleged i in
the affidavit are true and that the respondent is probably mentally ill and either (i) dangerous to
self, as defined in G.S. 122C-3(11)a., or dangerous to others, as defined in G.S. 122C-3(11)b., or
(ii) in need of treatment in order to prevent further disability or deterioration that would
predictably result in dangerousness, the clerk or magistrate shall issue an order to a law
enforcement officer or any other designated person autherized—under GS122C-23+
G.S. 122C-251(g) to take the respondent into custody for examination by a physician or eligible
psyehologist.commitment examiner. If the clerk or magistrate finds that, in addition to probably
being mentally ill, the respondent is also probably mentally retarded, the clerk or magistrate shall
contact the area authority before issuing a custody order and the area authority shall designate
the facility to which the respondent is to be taken for examination by a physician_or-eligible
psychologist.commitment examiner. The clerk or magistrate shall provide the petitioner and the
respondent, if present, with specific information regarding the next steps that will occur for the
respondent.

(c) If the clerk or magistrate issues a custody order, the clerk or magistrate shall also
make inquiry in any reliable way as to whether the respondent is indigent within the meaning of
G.S. 7A-450, A magistrate shall report the result of this inquiry to the clerk.

(d) If the affiant is a physician-er- eligible _psychologist,commitment examiner, all of the
following apply:

(1) Fhe-If the affiant has examined the respondent, the affiant may execute the
affidavit before any official authorized to administer oaths. This affiant is not
required to appear before the clerk or magistrate for this purpose. This affiant
shall file the affidavit with the clerk or magistrate by delivering to the clerk or
magistrate the original affidavit-er-affidavil, by transmitting a copy in paper
form that is printed through the facsimile transmission of the
affidayitaffidavit, or by delivermg the affidavit through electronic
transmission, If the affidavit is filed through electronic or facsimile
transmission, the affiant shall mail the original affidavit no later than five days
after the facsimile transmission of the affidavit to the clerk or magistrate to be
filed by the clerk or magistrate with the facsimile copy of the affidavit.

(2) This affiant's examination shall comply with the requirements of the initial
examination as provided in G.S. 122C-263(c). The affiant shall document in

writing and file the examination findings with the affidavit delivered to the
clerk or magistrate in accordance with subdivision (1) of subsection (d) of this

section,

(3) If the physician er-eligible-psycholegist-commitment examiner recommends
outpatient commitment according to the criteria for outpatient commitment
set forth in G.S, 122C-263(d)(1) and the clerk or magistrate finds probable

cause to believe that the respondent meets the criteria for outpatient
commitment, the clerk or magistrate shall issue an order that a hearing before

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(7)

a district court judge be held to determine whether the respondent will be

involuntasn'y committed. (. The pliysiciat oF eligible psychologist shall provide

The commitment
examiner shall contact the lecalmanagement-entity-LME/MCO that serves

the county where the respondent resides or the Jecal-managemententity
LME/MCO that coordinated services for the respondent to inform the teeal

management entity, LME/MCO that the respondent has been scheduled for an
appointment with an outpatient treatment physician or center._The
commitment examiner shall provide the respondent with written notice of any
scheduled appointment and the name, address, and telephone number of the
proposed outpatient treatment physician or center.

If the physician or eligible-psycholegist-commitment examiner recommends

inpatient commitment based on the criteria for inpatient commitment set forth
in G.S. 122C-263(d)(2) and the clerk or magistrate finds probable cause to

believe that the respondent meets the criteria for inpatient commitment, the
clerk or magistrate shall issue an order to_a law enforcement officer to take
the respondent into custody for transportation to or-eustedy-at-a 24-hour
facility described in G.S, 122C-252, provided that if a 24-hour facility is not
immediately available or appropriate to the respondent's medical condition,
the respondent may be temporarily detained under appropriate supervision
and, upon further examination, released in accordance with
G.S. 122C-263(d)(2).

If a physician—or-eligible_psychelegist-commitment examiner executes an

affidavit for inpatient commitment of a respondent, a secend-physician who is
not the commitment examiner who performed the examination under this
section shall be required to perform the examination required by
G.S. 122C-266.

No commitment examiner, area facility, acute care hospital, general hospital,
or other site of first examination, or its officials, staff, employees, or other
dividuals responsible for the custody, examination, detention, management,
supervision, treatment, or release of an individual examined for commitment,
who is not grossly negligent, shall be held liable in any civil or criminal action
for taking measures prior to the inpatient admission of the individual to a
24-hour facility.

Except as provided in subdivision (5) of subsection (d) of this section, upon receipt

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of the custody order of the clerk or magistrate or a custody order issued by the court pursuant to
G.S. 15A-1003, a law enforcement efficer—er—other—officer, person designated under

G.S, 122C-251(g), or other person identified in the order shall take the respondent into custody
within 24 hours after the order is signed, and proceed according to G.S. 122C-263. The custody

order is valid throughout tt the State,

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Notwithstanding the | provisions 5 of this section, in no event shall an individual known or
reasonably believed to be mentally retarded be admitted to a State psychiatric hospital, except as
follows:

(1) Persons described in G.S. 122C-266(b);

(2) Persons admitted pursuant to G.S. 15A-1321;

(3) Respondents who are so extremely dangerous as to pose a serious threat to the
community and to other patients committed to non-State hospital psychiatric
inpatient units, as determined by the Director of the Division of Mental
Health, Developmental Disabilities, and Substance Abuse Services or his
designee; and

(4) Respondents who are so gravely disabled by both multiple disorders and
medical fragility or multiple disorders and deafness that alternative care is
inappropriate, as determined by the Director of the Division of Mental Health,
Developmental Disabilities, and Substance Abuse Services or his designee.

Individuals transported to a State facility for the mentally ill who are not admitted by the
facility may be transported by appropriate law enforcement officers or designated staff of the
State facility in State-owned vehicles to an appropriate 24-hour facility that provides psychiatric
inpatient care.

No later than 24 hours after the transfer, the responsible professional at the original facility
shall notify the petitioner, the clerk of court, and, if consent is granted by the respondent, the next
of kin, that the transfer has been completed."

SECTION 23. G.S. 122C-262 reads as rewritten:

"§ 122C-262. Special emergency procedure for individuals needing immediate
hospitalization.

(a) Anyone, including a law enforcement officer, who has knowledge of an individual
who is subject to inpatient commitment according to the criteria of G-S1226-26Ha}
G.S, 122C-263(d)(2) and who requires immediate hospitalization to prevent harm to self or
others, may transport the individual directly to an area facility or other place, including a State

facility for the mentally ill, for examination by a physician er eligible-psychelogist-commitment

examiner in accordance with G.S. 122C-263(c).

(b) Upon examination by the physician-or-eligible-psycholegisjcommitment examiner,
if the individual meets the inpatient commitment criteria requized-specified in G-S-22€ 261 a),
the—physician—or—eligible—psycholegist—G.S. 122C-263(d)(2) and requires immediate

hospitalization to prevent harm to self or others, the commitment examiner shall so certify in
writing before any official authorized to administer oaths. The certificate shall also state the

reason that the individual requires immediate hospitalization. If the physieian—oreHeible
psychelegistcommitment examiner knows or has reason to believe that the individual is mentally
retarded, the certificate shall so state.

(c) If the physician-or eligible _psycholegist-commitment examiner executes the oath,
appearance before a magistrate shall be waived. The physician—or—eligible psychologist

commitment examiner shall send a copy of the certificate to the clerk of superior court by the
most reliable and expeditious means. If it cannot be reasonably anticipated that the clerk will
receive the copy within 24 hours, excluding Saturday, Sunday, and holidays, of the time that it

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was signed, the physician or eligible psychologist shall also communicate the findings to the
clerk by telephone.

(d) Anyone, including a law enforcement officer if necessary, may transport the
individual to a 24-hour facility described in G.S. 122C-252 for examination and treatment
pending a district court hearing. If there is no area 24-hour facility and if the respondent is
indigent and unable to pay for care at a private 24-hour facility, the law enforcement officer or
other designated person providing transportation shall take the respondent to a State facility for
the mentally ill designated by the Commission in accordance with G.S. 143B-147(a)(1)a and
immediately notify the clerk of superior court of this action. The physician‘s~-or—eligible
psychologist's commitment examiner's certificate shall serve as the custody order and the law
enforcement officer or other designated person shall provide transportation in accordance with
the provisions of G.S. 122C-251. Ifa 24-hour facility is not immediately available or appropriate
to the respondent's medical condition, the respondent_may be temporarily detained under
appropriate supervision in accordance with G.S. 122C-263(d)(2) and released in accordance with
G.S. 122C-263(d)(2).

In the event an individual known or reasonably believed to be mentally retarded is transported
to a State facility for the mentally ill, in no event shall that individual be admitted to that facility
except as follows:

(1) Persons described in G.S, 122C-266(b);

(2) Persons admitted pursuant to G.S. 15A-1321,

(3) | Respondents who are so extremely dangerous as to pose a serious threat to the
community and to other patients committed to non-State hospital psychiatric
inpatient units, as determined by the Director of the Division of Mental
Health, Developmental Disabilities, and Substance Abuse Services or his
designee; and

(4) Respondents who are so gravely disabled by both multiple disorders and
medical fragility or multiple disorders and deafness that alternative care is
inappropriate, as determined by the Director of the Division of Mental Health,
Developmental Disabilities, and Substance Abuse Services or his designee.

Individuals transported to a State facility for the mentally ill who are not admitted by the
facility may be transported by law enforcement officers or designated staff of the State facility —
in State-owned vehicles to an appropriate 24-hour facility that provides psychiatric inpatient care.

No later than 24 hours after the transfer, the responsible professional at the original facility
shall notify the petitioner, the clerk of court, and, if consent is granted by the respondent, the next
of kin, that the transfer has been completed.

(f) If, upon examination of a respondent presented in accordance with subsection (a) of
this section, the commitment examiner finds that the individual meets the criteria for inpatient
commitment specified in G.S. 122C-263(d)\(2) but does not require immediate hospitalization to

prevent harm to self or others, the commitment examiner may petition the clerk or magistrate in
accordance with G.S. 122C-261(d) for an order to take the individual into custody for transport
to a 24-hour facility described in G.S. 122C-252. If the commitment eXaminer recommends

inpatient commitment and the clerk or magistrate finds probable cause to believe that the
respondent meets the criteria for inpatient commitment, the clerk or magistrate shall issue an

order for transport to or custody at a 24-hour facility described in G.S, 122C-252; provided,
however, that if a 24-hour facility is not immediately available or appropriate to the respondent's
medical condition, the respondent may be temporarily detained under appropriate supervision in
accordance with G.S. 122C-263(d)(2) and released in accordance with G.S. 122C-263(d)(2).

(2) This section applies exclusively to an individual who is transported to an area facility
or other place for an examination by a commitment examiner in accordance with subsection (a)

of this section,"

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SECTION 24. G.S. 122C-263 reads as rewritten:
"§ 122C-263. Duties of law-enforeement-law enforcement officer; first examination—by

physician or eligible psychologist.examination.

(a) Without unnecessary delay after assuming custody, the law enforcement officer or

the individual designated bythe clerk-or magistrateunder G-S.122C-25 1s) required to provide

transportation pursuant to G.S. 122C- 29g) shall take the respondent to af-area-a a facility for

other location identified by the | ME/MCO in 1 the community crisis services plan adopted
pursuant to G.S. 122C-202.2 that has an available commitment examiner and is capable of

performing a first examination in conjunction with a health screening at the same location, unless
exigent circumstances require the respondent be transported to an emergency department, if a
commitment examiner is not available-inthe area facility,available, whether on-site, on-call, or
via telemedicine, at any facility or location, or if a plan has not been adopted, the person
designated to provide transportation shall take the respondent to an alternative non-hospital
provider or facility-based_ crisis center for a first examination in conjunction with a health
screening at the same location. If no non-hospital provider or facility-based crisis center for a

first examination in conjunction with a health screeming at the same location for health screening

and first examination exists, the person designated to provide transportation shall take the
respondent to any physician-or eligible psychologistiecally available-a private hospital or clinic,
a general hospital, an acute care hospital, or a State facility for the mentally ill. Ifa physician OF
eligible_psychelegist _commitment_examiner_is not immediately eavattable—available
respondent may be temporarily detained in an area facility, if one is available; if an area fealty
is not available, the respondent may be detained under appropriate supervision in the respondent's
home, in a private hospital or a clinic, in a general hospital, or in a State facility for the mentally
ill, but not ina jail or other penal facility. For the purposes of this section, "non-hospital provider"
means an outpatient provider that provides either behavioral health or medical services.

(al) A facility or other location to which a respondent is transported under subsection (a}
of this section shall provide a health screening of the respondent. The health screening shall be
conducted by a commitment examiner or other individual who is determined by the area facility,
contracted facility, or other location to be qualified to perform the health screening. The

Department will work with commitment examiner professionals to develop a screening tool for

this purpose. The respondent may either be in the physical face-to-face presence of the person

conducting the screen or may be examined utilizing telemedicine equipment and procedures,

Documentation of the health screening required under this subsection that is completed prior to
transporting the patient to any general hospital, acute care hospital, or designated facility shall
accompany the patient or otherwise be made available at the time of transportation to the
receiving facility.

(b) The examination set forth in subsection (a) of this section is not required #:under any
of the following circumstances:

(1) The affiant who obtained the custody order is a physician—or-eligible
psychologist commitment examiner who recommends _ inpatient

cormmitmentcommitnient.

(2) The custody order states that the respondent was charged with a violent crime,
including a crime involving assault with a deadly weapon, and he—the
respondent was found incapable of preceeding;-erproceeding.

(3) Repealed by Session Laws 1987, c. 596, s. 3.

In any of these cases, the Jaw-enfereementlaw enforcement officer or person designated under
G.S. 122C-251(g) shall take the respondent directly to a 24-hour facility described in
G.S, 122C-252.

(c) The physician or eligible psychelegist commitment examiner described in subsection

(a) of this section shall examine the respondent as soon as possible, and in any event within 24

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hours;hours after the respondent i is presented for examination. When the examination set forth in
subsection (a) of this section is performed by a physician-or eligible-psychelegis-tcommitment
examiner, the respondent may cither be in the physical face-to-face presence of the physieian-er
eligible—psycholegist-commitment examiner or may be examined utilizing telemedicine
equipment and procedures. A physician-or-eligible_psyehelegist-commitment examiner who
examines a respondent by means of telemedicine must be satisfied to a reasonable medical
certainty that the determinations made in accordance with subsection (d) of this section would
not be different if the examination had been done in the physical presence of the physieian-or
eligible—psychologist A physician —or—eligible—psychelegist—commitment examiner, A
commitment examiner who is not so satisfied must note that the examination was not
satisfactorily accomplished, and the respondent must be taken for a face-to-face examination in
the physical presence of a person authorized to perform examinations under this section. As used
in this subsectior;section, "telemedicine" is the use of two-way real-time interactive audio and
video between places of lesser and greater medical capability or expertise to provide and support
health care when distance separates participants who are in different geographical locations. A
recipient is referred by one provider to receive the services of another provider via telemedicine.
The examination shall include butis-netimitedto-an assessment of the respondents:at least
all of the following with respect to the respondent.
(1) Current and previous mental illness and mental retardation including, if
available, previous treatment histeryshistory.
(2) Dangerousness to self, as defined in G.S. 122C-3(11)a. or others, as defined
in GS-22E-34-Hb2G.8, 122C-3C1 Db.
(3) Ability to survive safely without inpatient commitment, including the
availability of supervision from family, friends or ethers;andothers.
(4) Capacity to make an informed decision concerning treatment.

(d) After the conclusion of the examination the physician-er—cligible—psychelegist

commitment examiner shall make the following determinations:

(1) If the physician or eligible-_psycholegist commitment examiner finds thatall

of the following:
a. The respondent is mentally Hill,
b. The respondent is capable of surviving safely in the community with
available supervision from family, friends, or ethers;others.
Cc. Based on the respondent's psychiatric history, the respondent is in need

of treatment in order to prevent further disability or deterioration that
would predictably result in dangerousness as defined by G.&
4226-30-4-andG.S. 122C-3(11).

d. The respondent's current mental status or the nature of the respondent's
illness limits or negates the respondent's ability to make an informed
decision to seek voluntarily or comply with recommended treatment.

The physician or-clgible-psycholegist- commitment examiner shall so show

on the examination report and shall recommend outpatient commitment. In
addition the examining —physician—or—eligible—psycholegist_commitment
examiner shall show the name, address, and telephone number of the proposed
outpatient treatment physician or eenter.center in accordance with subsection
(f) of this section. The person designated in the order to provide transportation
shall return the respondent to the respondent's regular residence or, with the
respondent's consent, to the home of a consenting individual located in the
originating county, and the respondent shall be released from custody.

(2) ‘If the physician-or eligible psychologist commitment examiner finds that the
respondent is mentally ill and is dangerous to self, as defined in
G.S. 122C-3(11)a., or others, as defined in G.S. 122C-3(1Db., the physician

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commitment examiner shall recommend impatient
commitment, and shall so show on the examination report. If, in addition to
mental illness and dangerousness, the physician—oreligible_psycholegist
commitment examiner also finds that the respondent is known or reasonably
believed to be mentally retarded, this finding shall be shown on the report.
Fhe Upon notification, the law enforcement officer or other designated person
shall take the respondent to a 24-hour facility described in G.S. 122C-252
pending a district court hearing. To the extent feasible, in providing the
transportation of the respondent, the law enforcement officer shall act within
six hours of notification, The other designated person shall take the respondent
to a 24-hour facility described in _G.S. 122C-252 pending a district court
hearing within six hours of notification. If there is no area 24-hour facility and
if the respondent is indigent and unable to pay for care at a private 24-hour
facility, the law enforcement officer or other designated person shall take the
respondent to a State facility for the mentally ill designated by the
Commission in accordance with G.S. 143B-147(a)(1)a. for custody,
observation, and treatment and immediately notify the clerk of superior court
of this action. If a 24-hour facility is not immediately available or appropriate
to the respondent's medical condition, the respondent may be temporarily
detained = under _ippropriate Supervision at _the site of the first

examination. Upon the commitment examiner's ; determination that a 24- hour
facility is available and medically appropriate, the law enforcement officer or
other designated person shall transport the respondent after receiving a request

for transportation by the facility of the commitment examiner. To the extent
feasible, in providing the transportation of the respondent, the Jaw

enforcement officer shall act within six hours of notification. The other
designated person shall transport the respondent without unnecessary delay
and within six hours after receiving a request for transportation by the facility

of the commitment examiner. At any time durmg the respondent's temporary

detention under appropriate supervision, if a commitment exammer
determines that the respondent is no longer in need of inpatient commitment,

the proceedings shall be terminated and the respondent transported and
released in accordance with subdivision (3) of this subsection. However, if the

physician or eligible- psychologist commitment examiner determines that the

respondent meets the criteria for outpatient commitment, as defined in
subdivision (1) of this subsection, the physician-or-eligible-psyeholegist
commitment examiner may recommend outpatient commitment, and the
respondent shall be transported and released in accordance with subdivision
(1) of this subsection. Any decision to terminate the proceedings or to
recommend outpatient commitment after an initial recommendation of
inpatient commitment shall be documented and reported to the clerk of
superior court in accordance with subsection (e) of this section. If the
respondent is temporarily detained and a 24-hour facility is not available or
medically appropriate seven days after the issuance of the custody order, a

ommitment examiner shall report this fact to the
clerk of superior court and the proceedings shall be terminated. Termination
of proceedings pursuant to this subdivision shall not prohibit or prevent the
initiation of new involuntary commitment proceedings when appropriate. A

commitment examiner may initiate a new involuntary commitment
proceeding prior to the expiration of this seven-day period, as long as the

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respondent continues to meet applicable criteria. Affidavits filed in support of
proceedings terminated pursuant to this subdivision may not be submitted in

support of any subsequent petitions for involuntary commitment. If the affiant

initiating new commitment proceedings is a physician—or—eligible

psychologist,commitment examiner, the affiant shall conduct a new
examination and may not rely upon examinations conducted as part of
proceedings terminated pursuant to this subdivision.

In the event an individual known or reasonably believed to be mentally
retarded is transported to a State facility for the mentally ill, in no event shall
that individual be admitted to that facility except as follows:

a. Persons described in G.S. 122C-266(b);

b. Persons admitted pursuant to G.S, 15A-1321;

Cc. Respondents who are so extremely dangerous as to pose a serious
threat to the community and to other patients committed to non-State
hospital psychiatric inpatient units, as determined by the Director of
the Division of Mental Health, Developmental Disabilities, and
Substance Abuse Services or his designee; and

d. Respondents who are so gravely disabled by both multiple disorders
and medical fragility or multiple disorders and deafness that
alternative care is inappropriate, as determined by the Director of the
Division of Mental Health, Developmental Disabilities, and Substance
Abuse Services or his designee.

Individuals transported to a State facility for the mentally ill who are not
admitted by the facility may be transported by law enforcement officers or
designated staff of the State facility in State-owned vehicles to an appropriate
24-hour facility that provides psychiatric inpatient care.

No later than 24 hours after the transfer, the responsible professional at the
original facility shall notify the petitioner, the clerk of court, and, if consent is
granted by the respondent, the next of kin, that the transfer has been
completed.

(3) If the physician_or eligible _psycholegist-commitment examiner finds that
neither condition described in subdivisions (1) or (2) of this subsection exists,
the proceedings shall be terminated. The person designated in the order to
provide transportation shall return the respondent to the respondent's regular
residence or, with the respondent's consent, to the home of a consenting
individual located in the originating county and the respondent shall be
released from custody,

(e) The findings of the physician or eligible psychelogist-commiltment examiner and the
facts on which they are based shall be in writing in all cases. The physician-oreligible
psycholegist commitment examiner shall send a copy of the findings to the clerk of superior court
by the most reliable and expeditious means. If it cannot be reasonably anticipated that the clerk
will receive the copy within 48 hours of the time that it was signed, the physician or eligible
psychologist shall also communicate his findings to the clerk by telephone.

(f} When outpatient commitment is recommended, the examining physician or eligible
psycholegist;commitment examiner, if different from the proposed outpatient treatment
physician or center, shall give-the written-noticelisting the-name,address,_and

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tact the LME/MCO

the physician-or-centershall con

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that serves the county where the respondent

resides or the LME/MCO that coordinated services for the respondent to inform the LME/MCO

that the respondent _is being recommended for outpatient commitment, The commitment
examiner shall give the respondent a wrilten notice listing the name, address, and telephone
number of the proposed outpatient treatment physician or center,

(g) The physician-or-eligible _psychelegist,commitment examiner, at the completion of
the examination, shall provide the respondent with specific information regarding the next steps

that will occur."
SECTION 25. G.S. 122C-263.1 reads as rewritten:

"§ 122C-263.1. Secretary's authority to waive-requirement—offirst_examination by

physician-er-eligible-psychelogistscertify_ commitment examiners; training of
certified providers—-—commitment examiners performing first

examinatiens.examinations; LME/MCO responsibilities.

(a) Physicians and eligible psychologists are qualified to perform the commitment
examinations required under G.S. 122C- 204) and G, S. 122C-283(0). The © Seereay of Health

certify to perform the first commitment examinations required by_G.S, 122C-261 through
GS. 122C-263 and G.S. 122C-281 through G.S. 122C-283 other health, mental health, and

substance abuse professionals whose scope of practice includes diagnosing and documenting

psychiatric or substance use disorders and conducting mental status examinations to determine

capacity to give informed consent to treatment as follows:
(1) The Secretary has received a request from an-LME te substitute fora physician

under the waiver:To certify 4 a licensed clinical s social worker, a + master's s
or higher level degree nurse practitioner, a licensed professional
counsellor, or a physician's assistant to conduct the first examinations
described i in G. S. 122C- 263(¢) and G.S. 122 2H fe,

b.
cubetance: abuse services:To ‘certify : a master's level Ticensed clinical
addictions specialist to conduct the first examination described in
G.S. 122-2850).

(2) The Secretary shall review the request and may approve it upon finding all of

the following:
a. The request meets the requirements of this section.
b. :

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The Department determines that the applicant possesses the

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professional licensure, registration, or certification to qualify the
applicant as a professional whose scope of practice includes
diagnosing and documenting psychiatric or substance use disorders

and conducting mental status examinations to determine capacity to
give informed consent to treatment.

The applicant for certification has successfully completed the
Department's standardized __training program for involuntary
commitment and has successfully passed the examination for that

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program,

(4) A -waiver-certification granted by the Secretary under this section shall be in
effect for a period of up to three years and may be rescinded at any time within
this period if the Secretary finds the LME-certified individual has failed to
meet the requirements of this section. Certification may be renewed every

three years upon completion of a refresher training program approved by the

Department,
(5) In no event shall the substitetien—certification of a licensed clinical social

worker, master's or higher level psychiatric-rurse,degree nurse practitioner,

licensed professional counsellor, physician assistant, or master's level certified

clinical addictions specialist uadera-waiverranted—under this section be
construed as authorization to expand the scope of practice of the licensed

clinical social worker, the master's level psychiateie-nurse nurse practitioner,
licensed professional counsellor, physician assistant, or the master's level
certified clinical addictions specialist.

(6) The Department shall require that individuals perferming certified to perform
initial examinations under the-waiverthis section have successfully completed
the Department's standardized involuntary commitment training program and

examination. The Department shall maintain a list of these individuals on its
Internet Web site.

(7a) No less than annually, the Department shall submit a list of certified first

commitment examiners to the Chief District Court Judge of each judicial
district in North Carolia and maintain a current list of certified first

commitment examiners on its Internet Web site.

(8) A master's level certifiedlicensed clinical addiction specialist shall only be
authorized to conduct the initial examination of individuals meeting the
criteria of G. S. 122C- ~-281(a).

Services—Department shall expand it its standardized certification training program to include
refresher training for all certified providers performing initial examinations pursuant to
subsection (a) of this section."

SECTION 26. G.S. 122C-264 reads as rewritten:
"§ 122C-264. Duties of clerk of superior court and the district attorney.

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(a) Upon receipt of a physician's_or-eligible_psychelegist's—commitment examiner's
finding that the respondent meets the criteria of G.S. 122C-263(d)(1) and that outpatient
commitment is recommended, the clerk of superior court of the county where the petition was
initiated, upon direction of a district court judge, shall calendar the matter for hearing and shall
notify the respondent, the proposed outpatient treatment physician or center, and the petitioner
of the time and place of the hearing. The petitioner may file a written waiver of his right to notice
under this subsection with the clerk of court.

(b) Upon receipt by_the clerk of superior court pursuant to G.S. 122C-266(c) of a

tei i ommitment examiner's finding that a respondent meets the
criteria of G.S. 122C-263(d)(2) and that inpatient commitment is recommended, the clerk of
superior court of the county where the 24-hour facility is located shall, after determination
required by G.S. 122C-261(c) and upon direction of a district court judge, assign counsel if
necessary, calendar the matter for hearing, and notify the respondent, his counsel, and the
petitioner of the time and place of the hearing. The petitioner or respondent, directly or through
counsel, may file a written waiver of his-the right to notice under this subsection with the clerk
of court.

(b1) Upon receipt of a physician's-or-eligible-psychelegist's—commitment examiner's
certificate that a respondent meets the criteria of G.S. 122C-261(a) and that immediate
hospitalization is needed pursuant to G.S, 122C-262, the clerk of superior court of the county
where the treatment facility is located shall submit the certificate to the Chief District Court
Judge. The court shall review the certificate within 24 hours, excluding Saturday, Sunday, and
holidays, for a finding of reasonable grounds in accordance with [G.S.] 122C-261(b). The clerk
shall notify the treatment facility of the court's findings by telephone and shall proceed as set
forth in subsections (b), (c), and (f) of this section.

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SECTION 27. G.S. 122C-265 reads as rewritten:
"§ 122C-265. Outpatient commitment; examination and treatment pending hearing.

(a) If a respondent, who has been recommended for outpatient commitment by an
examining physician-_or eligible psychologist-commitment examiner different from the proposed
outpatient treatment physician or center, fails to appear for examination by the proposed
outpatient treatment physician or center at the designated time, the physician or center shall notify
the clerk of superior court who shall issue an order to a Jaw-entereementlaw enforcement officer

to take the respondent into custody and take him
immediately to the outpatient treatment physician or center for evaluation, The custody order is
valid throughout the State. The law-enforcement officer may wait during the examination and
return the respondent to his home after the examination.

(b) The examining physician-commitment examiner or the proposed outpatient treatment
physician or center may prescribe to the respondent reasonable and appropriate medication and
treatment that are consistent with accepted medical standards pending the district court hearing.

(c) In no event may a respondent released on a recommendation that he or she meets the
outpatient commitment criteria be physically forced to take medication or fereeablyforcibly
detained for treatment pending a district court hearing.

(d) If at any time pending the district court hearing the outpatient treatment physician or
center determines that the respondent does not meet the criteria of G.S, 122C-263(d)(1), he-the
physician shall release the respondent and notify the clerk of court and the proceedings shall be
terminated.

(e) If a respondent becomes dangerous to himself-self_as defined in G.S. 122C-3(11)a.,
or others, as defined in G.S. 122C-3(11)b., pending a district court hearing on outpatient
commitment, new proceedings for involuntary inpatient commitment may be initiated.

(f} If an inpatient commitment proceeding is initiated pending the hearing for outpatient
commitment and the respondent is admitted to a 24-hour facility to be held for an inpatient

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commitment hearing, notice shall be sent by the clerk of court in the county where the respondent
is being held to the clerk of court of the county where the outpatient commitment was initiated
and the outpatient commitment proceeding shall be terminated."

SECTION 28. G.S. 122C-267 reads as rewritten:
"§ 122C-267. Outpatient commitment; district court hearing.

(c) Certified copies of reports and findings of physicians-and-psychelegists commitment

examiners and medical records of previous and current treatment are admissible in evidence.
it
SECTION 29. G.S. 122C-268 reads as rewritten:
"§ 122C-268. Inpatient commitment; district court hearing.

(a) A hearing shall be held in district court within 10 days of the day the respondent is
taken into law enforcement custody pursuant to G.S. 122C-26l(e) or GS, 122C-262. If a
respondent temporarily detained under G.S. 122C-263(d)(2) is subject to a series of successive
custody orders issued pursuant to G.S, 122C-263(d)(2), the hearing shall be held within 10 days
after the day that the respondent is taken into custody under the most recent custody order. A
continuance of not more than five days may be granted upon motion ef:of any of the following:

(1) The eouricourt,
(2) Respondent's cevunsel-ercounsel,
(3) The State, sufficiently in advance to avoid movement of the respondent.

(f) Certified copies of reports and findings of physicians-and-psychelegists commitment

examiners and previous and current medical records are admissible in evidence, but the
respondent's right to confront and cross-examine witnesses may not be denied.

(g}  Hearings-mayTo the extent feasible, hearings shall be held in an appropriate room
not-usedfor treatment of cHents-at the facility in which the respondent is being treated #+t-in a
manner approved by the chief district court judge if the facility is located within the presiding

judge’ 8 district court district as defined i in G'S FACTS by audio and video transmission Denveos

other or G. 8. 7A- 133. 3. Hearings n may be held in the judge’ s ; chambers. A hearing may not be held

in a regular courtroom, over objection of the respondent, if in the discretion of a judge a more

suitable place is available. A hearing may be held by audio and video transmission between the
treatment facility and a courtroom in a manner that allows (i) the judge and the respondent to see

and hear each other and (ii) the respondent to communicate fully and confidentially with the

respondent's counsel during the proceeding. Prior to any hearing held by audio and video
transmission, the chief district court judge shall submit to the Administrative Office of the Courts
the procedures and type of equipment for audio and video transmission for approval by the
Administrative Office of the Courts. Notwithstanding the provisions of this subsection, if the

respondent, through counsel, objects to a hearing held by audio and video transmission, the
hearing shall be held in the physical presence of the presiding district court judge. Regardless of
the manner and location for hearings, hearings shall be held in a manner that complies with any
applicable federal and State laws governing the confidentiality and security of confidential
information, including any information transmitted from the treatment facility by audio and video
transmission. If the respondent has counsel, the respondent shall be allowed to communicate fully
and confidentially with his attorney during the proceeding. Prior to the use of the audio and video
transmission, the procedures and type of equipment for audio and video transmission shall be
submitted to the Administrative Office of the Courts by the chief district court judge and
approved by the Administrative Office of the Courts.

SECTION 30. G.S. 122C-271 reads as rewritten:
"§ 122C-271. Disposition.

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(a) If an-examining_physician—or-cligible-psycholegist_a commitment examiner has

recommended outpatient commitment and the respondent has been released pending the district
court hearing, the court may make one of the following dispositions:

(1) If the court finds by clear, cogent, and convincing evidence that the respondent
is mentally ill; that he is capable of surviving safely in the community with
available supervision from family, friends, or others; that based on
respondent's treatment history, the respondent is in need of treatment in order
to prevent further disability or deterioration that would predictably result in
dangerousness as defined in G.S. 122C-3(11); and that the respondent's
current mental status or the nature of his illness limits or negates his ability to
make an informed decision to seek voluntarily or comply with recommended
treatment, it may order outpatient commitment for a period not in excess of
90 days.

(2) If the court does not find that the respondent meets the criteria of commitment
set out in subdivision (1) of this subsection, the respondent shall be discharged
and the facility at-whieh-he-wasast-a-clHent-proposed outpatient physician
center so notified.

G3) Before ordering any outpatient commitment under this subsection, the court
shall make findings of fact as to the availability of outpatient treatment from
an outpatient treatment physician or center that has agreed to accept the
respondent as a client of outpatient treatment services, The court shall show
on the order the outpatient treatment physician or center that_is_to be
responsible for the management and supervision of the respondent's outpatient
commitment, If the designated outpatient treatment physician or center will
be monitoring and supervising the respondent's outpatient commitment
pursuant to a contract for services with an LME/MCO, the court shall show
on the order the identity of the LME/MCO, The clerk of court shall send a
copy of the outpatient commitment order to the designated outpatient
treatment physician or center and to the respondent client or the legally
responsible person. The clerk of court shall also send a copy of the order to
that LME/MCO. Copies of outpatient commitment orders sent by the clerk of
court to an outpatient treatment center_or physician under this section,
including orders sent to an LME/MCO, shall be sent by the most reliable and
expeditious means, but in no event less than 48 hours after the hearing.

(b) If the respondent has been held in a 24-hour facility pending the district court hearing
pursuant to G.S. 122C-268, the court may make one of the following dispositions:

(4) Before ordering any outpatient commitment, the court shall make findings of
fact as to the availability of outpatient +eatmenttreatment from an outpatient
treatment physician or center that has agreed to accept the respondent as a
client of outpatient treatment services. The court shall also show on the order
the outpatient treatment physician or center who is to be responsible for the
management and supervision of the respondent's outpatient commitment.
When an outpatient commitment order is issued for a respondent held in a
24-hour facility, the court may order the respondent held at the facility for no
more than 72 hours in order for the facility to notify the designated outpatient
treatment physician or center of the treatment needs of the respondent. The
clerk of court in the county where the facility is located shall send a copy of
the outpatient commitment order to the designated outpatient treatment
physician or ¢entercenter_and to the respondent or the legally responsible

person, If the designated outpatient treatment physician or center shall be

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monitoring and supervising the respondent's outpatient commitment pursuant
to a contract for services with an LME/MCO, the clerk of court shall how on
the order the identity of the LME/MCO. The clerk of court shall send a copy
of the order to the LME/MCO. Copies of outpatient commitment orders sent
by the clerk of court to an outpatient treatment center or physician pursuant to
this subdivision, including orders sent to an LME/MCO, shall be sent by the
most reliable and expeditious means, but in no event less than 48 hours after
the hearing. If the outpatient commitment will be supervised in a county other
than the county where the commitment originated, the court shall order venue
for further court proceedings to be transferred to the county where the
outpatient commitment will be supervised. Upon an order changing venue, the
clerk of superior court in the county where the commitment originated shall
transfer the file to the clerk of superior court in the county where the outpatient
commitment is to be supervised.

SECTION 31. G.S. 122C-276 reads as rewritten:
"8 122C-276. Inpatient commitment; rehearings for respondents other than insanity
acquittees.

(c) Subject to the provisions of G.S. 122C-269(c), rehearings shall be held at-the-faeiity
in-whieh the respondent is receiving -treatment.as authorized in GS, 122C-268(g). The judge is
a judge of the district court of the district court district as defined in G.S, 7A-133 in which the
facility is located or a district court judge temporarily assigned to that district.

SECTION 32. G.S. 122C-28] reads as rewritten:
"§ 122C-281. Affidavit and petition before clerk or magistrate; custody order.

(a) Any individual who has knowledge of a substance abuser who is dangerous to hirnself
self or others may appear before a clerk or assistant or deputy clerk of superior court or a
magistrate, execute an affidavit to this effect, and petition the clerk or magistrate for i issuance of
an order to take the respondent into custody for examination by a
psychelogist.commitment examiner. The affidavit shall include the facts on which the affiant's
opinion is based. Jurisdiction under this subsection is in the clerk or magistrate in the county
where the respondent resides or is found.

(b) If the clerk or magistrate finds reasonable grounds to believe that the facts alleged in
the affidavit are true and that the respondent is probably a substance abuser and dangerous to
himself-self or others, he-the clerk or magistrate shall issue an order to a Jaw-enfercement-law

enforcement officer or any other person autherized—by—GrS.122€-251 designated under
G.S.122C-251(g} to take the respondent into custody for examination by a physician cr eligible

psychologist commitment examiner.

(c) If the clerk or magistrate issues a custody order, he-the clerk or magistrate shall also
make inquiry in any reliable way as to whether the respondent is indigent within the meaning of
G.S. 7A-450. A magistrate shall report the result of this inquiry to the clerk.

(d) If the affiant is a physician or eligible _psychelogist:commitment examiner who has
examined the respondent, he or she may execute the affidavit before any official authorized to
administer oaths. He-The commitment examiner is not required to appear before the clerk or
magistrate for this purpose. His-The commitment examiner's examination shall comply with the
requirements of the initial examination as provided in G.S. 122C-283(c), The affiant shall file

the affidavit and examination findings with the clerk of court in the manner described in
G.S. 122C-261(d)(1). If the physician—or—eligible—psychelegist—commitment examiner

recommends commitment and the clerk or magistrate finds probable cause to believe that the
respondent meets the criteria for commitment, he-the clerk or magistrate shall issue an order to a

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law enforcement officer to take the respondent into custody for transportation to er-custedy-ata

24-hour faeiHity-orrelease the respondentfacility, or, if the respondent is teleased pending
hearing, as described in G-S+4226283()Q.G.S. 122C-283(d)(1), order that a hearing be held

as provided in G.S. 122C-284(a). If a physician or eligible psychologist executes an affidavit for
commitment of a respondent, a second qualified professional shall perform the examination
required by G.S. 122C-285,. Any person or entity who or which has been designated in
compliance with G.S. 122C-251(g) shall be permitted to complete all or part of the duties of a
law enforcement officer, in accord with the designation.

(e) Upon receipt of the custody order of the clerk or magistrate, a Jaw-enfercementlaw
enforcement officer or other persen-designated person identified in the order shall take the
respondent into custody within 24 hours after the order is signed. The custody order is valid
throughout the State.

(el) No commitment examiner, area facility, acute care hospital, general hospital, or other
site of first examination, or their officials, staff, employees, or other individuals responsible for
the custody, examination, detention, management, supervision, treatment, or release of an

individual examined for commitment, who is not grossly negligent, shall be held liable in any
civil or criminal action for taking measures to temporarily detain an individual for the period of

time necessary to complete a commitment examination, submit an affidavit to the magistrate or
clerk of court, and await the issuance of a custody order as authorized by subsection (d) of this

section.

SECTION 33. G. S. 122-282 reads : as ‘rewritten:
"§ 122C-282. Special emergency procedure for violent individuals.

When an individual subject to commitment under the provisions of this Part is also violent
and requires restraint and when delay in taking hita-the individual to a physician—or-eligible
psychelegist commitment examiner for examination would likely endanger life or property, a
law-enforcement-law enforcement officer may take the person into custody and take him or her

immediately before a magistrate or clerk. The law-enfereementlaw enforcement officer shall
execute the affidavit required by G.S. 122C-281 and in addition shall swear that the respondent
is violent and requires restraint and that delay in taking the respondent to a physician ot eligible
psychelegist commitment examiner for an examination would endanger life or property.

If the clerk or magistrate finds by clear, co gent, and convincing evidence that the facts stated
in the affidavit are true, that the respondent is in fact violent and requires restraint, and that delay
in taking the respondent to a physician-or- eligible _ psychologist commitment examiner for an
examination would endanger life or property, he-the clerk or magistrate shall order the
law-enfercement-law enforcement officer to take the respondent directly to a 24-hour facility
described in G.S. 122C-252.

Respondents received at a 24-hour facility under the provisions of this section shall be
examined and processed thereafter in the same way as all other respondents under this Part."

SECTION 34. G.S. 122C-283 reads as rewritten:
"§ 122C-283. Duties of law-enforcement officer; first examination by physieian-or-cligible
psychelegist.commitment examiner.

(a) Without unnecessary delay after assuming custody, the lew-eafercement~law
enforcement officer or the individual designated by-the clerk or magistrate-or required to provide

transportation under G.S. 122C-251(g) te-previdetransportation-shall take the respondent to @#

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eligible psychologist locally_available—or other location identified by t the LME/MCO in 1 the

community crisis services plan adopted pursuant to G.S. 122C-202.2 that has an available
commitment examiner and is capable of performing a first examination in conjunction with a
health screening in the same location, unless exigent circumstances require the respondent be
transported to an emergency department. If a commitment examiner is not available, whether
on-site, on-call, or via telemedicine, at any facility or location, or if a plan has not been adopted,
the person designated to provide transportation shall take the respondent to_an_ alternative
non-hospital provider or facility-based crisis center for a first examination in conjunction with a
health screening at the same location. If no non-hospital provider or facility-based crisis center
for a first examination in conjunction with a health screening at the same location, the person
designated to provide transportations shall take the respondent to a private hospital or clinic, a
general hospital, an acute care hospital, or a State facility for the mentally ill. If a physician-er
eligible psychologist commitment examiner is not immediately available, the respondent may be
temporarily detained in an area facility if one is available; if an area facility is not available, he
may be detained under appropriate supervision, in his home, in a private hospital or a clinic, or
in a general hospital, but not in a jail or other penal facility. For the purposes of this section,
"non-hospital provider" means an outpatient provider that provides either behavioral health or
medical services,

(al) A facility, or other location to which a respondent is transported under subsection (a)
of this section, shall provide a health screening of the respondent. The health screening shall be
conducted by a physician or other individual who is determined by the area facility, contracted
facility, or other location to be qualified to perform the health screening. The respondent may
either be in the physical face-to-face presence of the health screening examiner or may be
examined utilizing telemedicine equipment and procedures. Documentation of the health

screening required under this subsection that is completed prior to transporting the patient to any

general or acute care hospital shall accompany the patient or otherwise be made available at the

time of transportation to the receiving facility.
(b) The examination set forth in subsection (a) of this section is not required #:under

either of the following circumstances:
(1) The affiant who obtained the custody order is a physician—or-elgible
psychologist;-orcommitment examiner,

(2) The respondent is in custody under the special emergency procedure described
in G.S. 122C-282.

In these cases when it is recommended that the respondent be detained in a 24-hour facility, the
law-enforcement-law enforcement officer shall take the respondent directly to a 24-hour facility
described in G.S. 122C-252,

(c) The physician-or-eligible psychologist commitment examiner described in subsection
(a) of this section shall examine the respondent as soon as possible, and in any event within 24
hours, after the respondent is presented for examination. The examination shall include but is not
limited to an assessment of the respondent's:

qd) Current and previous substance abuse including, if available, previous
treatment history; and

(2) Dangerousness to himself or others as defined in G.S. 122C-3(11).

(d) After the conclusion of the examinatien_examination, the physician—or-eligible
psychologist commitment examiner shall make the following determinations:

(1) ‘If the physician-or eligible- psychologist commitment examiner finds that the
respondent is a substance abuser and is dangerous to himnself-self or others, he
the commitment examiner shall recommend commitment and whether the
respondent should be released or be held at a 24-hour facility pending hearing

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and shall so show on {the}his-the examination report. Based on the physician's
or—eligible—psycholegist's_+ecommmendation—commitment examiner's
recommendation, the law-enfercement_law enforcement officer or other
designated individual shall take the respondent to a 24-hour facility described
in G.S. 122C-252 or release the respondent. If a 24-hour facility is not
immediately available or medically appropriate, the respondent may be
temporarily detained under appropriate supervision and the procedures
described in G.S. 122C-263(d)(2) shall apply.

(2) If the physician-or eligible psychologist commitment examiner finds that the
condition described in subdivision (1) of this subsection does not exist, the
respondent shall be released and the proceedings terminated.

(e) The findings of the physician or eligible psychologist commitment examiner and the
facts on which they are based shall be in writing in all cases, A copy of the findings shall be sent
to the clerk of superior court by the most reliable and expeditious means. If it cannot be
reasonably anticipated that the clerk will receive the copy within 48 hours ef after the time that
it was signed, the physician—oreligible—psychelogist—commitment examiner shall also
communicate his-the findings to the clerk by telephone."

SECTION 35. G.S. 122C-284 reads as rewritten:

"§ 122C-284. Duties of clerk of superior court.

(a) Upon receipt by the clerk of superior court of a physician's-or eligible psychelegist,

finding made _by a commitment examiner or other qualified professional pursuant_to
G.S. 122C-285(c) that a respondent is a substance abuser and dangerous to hitnself-self or others

and that commitment is recommended, the clerk of superior court of the county where the facility
is located, if the respondent is held in a 24-hour facility, or the clerk of superior court where the
petition was initiated shall upon direction of a district court judge assign counsel, calendar the
matter for hearing, and notify the respondent, his-the respondent's counsel, and the petitioner of
the time and place of the hearing. The petitioner or respondent, directly, or through counsel, may
file a written waiver of his-the right to notice under this subsection with the clerk of court.

(b) Notice to the respondent required by subsection (a) of this section shall be given as
provided in G.S. 1A-1, Rule 4(j) at least 72 hours before the hearing. Notice to other individuals
shall be given by mailing at least 72 hours before the hearing a copy by first-class mail postage
prepaid to the individual at his or her Jast known address. G.S. 1A-1, Rule 6 shall not apply.

SECTION 36. G.S. 122C-285 reads as rewritten:
"§ 122C-285. Commitment; second examination and treatment pending hearing.

(a) Within 24 hours of arrival at a 24-hour facility described in G.S. 122C-252, the
respondent shall be examined by a qualified professional. This professional shall be a physician
if the initial commitment evaluation was conducted by an-eligible-psychelegist.a commitment
examiner who is not a physician. The examination shall include the assessment specified in
G.S, 122C-283(c). If the physician or qualified professional finds that the respondent is a
substance abuser and is dangerous to himaself-self or others, be-the physician or qualified
professional _shall hold and treat the respondent at the facility or designate other treatment
pending the district court hearing. If the physician or qualified professional finds that the
respondent does not meet the criteria for commitment under GS. 122C-283(d)(1), he-the
physician or qualified professional shall release the respondent and the proceeding shall be
terminated. In this case the reasons for the release shall be reported in writing to the clerk of
superior court of the county in which the custody order originated. If the respondent is released,
the Jaw-enfeorceement-law enforcement officer or other person designated or required under
G.S, 122C-251(g) to provide transportation shall return the respondent to the originating county.

(b) ‘If the 24-hour facility described in G.S. 122C-252 is the facility in which the first

examination by a physician-or eligible-psycholegist-commitment examiner occurred and is the

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same facility in which the respondent is held, the second examination must occur not later than
the following regular working day.

{c) The findings of the physician or qualified professional along with a summary of the
facts on which they are based shall be made in writing in all cases. A copy of the written findings
shall be sent to the clerk of superior court by reliable and expeditious means."

SECTION 37. G.S. 122C-286 reads as rewritten:

"§ 122C-286. Commitment; district court hearing.

(a) A hearing shall be held in district court within 10 days of the day the respondent is
taken into custody. If a respondent temporarily detained under G.S. 122C-263(d)(2) is subject to
a series of successive custody orders issued pursuant to G.S, 122C-263(d)(2), the hearing shall
be held within 10 days after the day the respondent is taken into custody under the most recent
custody order. Upon its own motion or upon motion of the responsible professional, the
respondent, or the State, the court may grant a continuance of not more than five days.

(b) The respondent shall be present at the hearing-hearing unless the respondent, through
counsel, submits a written waiver of personal appearance. A subpoena may be issued to compel
the respondent's presence at a hearing, The petitioner and the responsible professional of the area
autherityfacility or the proposed treating physician or his-a designee of the proposed treating
physician may be present and may provide testimony.

(c) Certified copies of reports and findings of physicians-and-psycholegists-physicians,
psychologists, and other commitment examiners and medical records of previous and current
treatment are admissible in evidence, but the respondent's right to confront and cross-examine
witnesses shall not be denied.

(d) The respondent may be represented by counsel of his-choice. If the respondent is
indigent within the meaning of G.S.7A-450, counsel shall be appointed to represent the
respondent in accordance with rules adopted by the Office of Indigent Defense Services.

(e) Hearings may be held at a facility if it is located within the judge's district court district
as defined in G.S. 7A-133 or in the judge's chambers. A hearing may not be held in a regular
courtroom, over objection of the respondent, if in the discretion of a judge a more suitable place
is available.

(f} The hearing shall be closed to the public unless the respondent requests otherwise.
The hearing for a respondent being held at a 24-hour facility shall be held in a location and in the
manner provided in G.S. 122C-268(g).

(g) A copy of all documents admitted into evidence and a transcript of the proceedings
shall be furnished to the respondent on request by the clerk upon the direction of a district court
judge. If the respondent is indigent, the copies shall be provided at State expense,

(h) To support a commitment order, the court shall find by clear, cogent, and convincing
evidence that the respondent meets the criteria specified in G.S. 122C-283(d)(1). The court shall
record the facts that support its findings and shall show on the order the area autherity-facility or
physician who is responsible for the management and supervision of the respondent's treatment."

SECTION 38. G.S. 122C-287 reads as rewritten:

"§ 122C-287. Disposition.

The court may make one of the following dispositions:

(1) ‘If the court finds by clear, cogent, and convincing evidence that the respondent
is a substance abuser and is dangerous to himselé-self or others, it shall order
for a period not in excess of 180 days commitment to and treatment by an area
authority-facility or physician who is responsible for the management and
supervision of the respondent's commitment and treatment. Before ordering
commitment to and treatment by an area facility or a physician who is not a
physician at an inpatient facility, the court shall follow the procedures
specified in G.S, 122C-271(a)(3) and G.S. 122C-271(b)(4), as applicable.

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(2) If the court finds that the respondent does not meet the commitment criteria
set out in subdivision (1) of this subsection, the respondent shall be discharged
and the facility in which he was last treated so notified."

SECTION 39. G.S, 122C-290 reads as rewritten:

"§ 122C-290. Duties for follow-up on commitment order.

(a) The area autherity-facility or physician responsible for management and supervision
of the respondent's commitment and treatment may prescribe or administer to the respondent
reasonable and appropriate treatment either on an outpatient basis or in a 24-hour facility.

(b) If the respondent whose treatment is provided on an outpatient basis fails to comply
with all or part of the prescribed treatment after reasonable effort to solicit the respondent's
compliance or whose treatment is provided on an inpatient basis is discharged in accordance with
G.S. 122C-205.1(b), the area autherity facility or physician may request the clerk or magistrate
to order the respondent taken into custody for the purpose of examination. Upon receipt of this
request, the clerk or magistrate shall issue an order to a law enforcement officer to take the
respondent into custody and to take him immediately to the designated area autheritytfacility or
physician for examination. The custody order is valid throughout the State. The law enforcement
officer shall turn the respondent over to the custody of the physician or area autherity-facility
who shall conduct the examination and release the respondent or have the respondent taken to a
24-hour facility upon a determination that treatment in the facility will benefit the respondent.
Transportation to the 24-hour facility shall be provided as specified in G.S. 122C-251, upon
notice to the clerk or magistrate that transportation is necessary, or as provided in
G.S. 122C-408(b). If placement in a 24-hour facility is to exceed 45 consecutive days, the area
authority-facility or physician shall notify the clerk of court by the 30th day and request a
supplemental hearing as specified in G.S. 122C-291,

(c) If the respondent intends to move or moves to another county within the State, the
area ity_facility or physician shall notify the clerk of court in the county where the
commitment is being supervised and request that a supplemental hearing be calendared.

(d) If the respondent moves to another state or to an unknown location, the designated
area ity facility or physician shall notify the clerk of superior court of the county where the
commitment is supervised and the commitment shall be terminated."

SECTION 40. G.S. 122C-29] reads as rewritten:

"§ 122C-291. Supplemental hearings.

- (a) Upon receipt of a request for a supplemental hearing, the clerk shall calendar a hearing
to be held within 14 days and notify, at least 72 hours before the hearing, the petitioner, the
respondent, his attorney, if any, and the designated area autherity-facility or physician. Notice
shall be provided in accordance with G.S. 122C-284(b). The procedures for the hearing shall
follow G.S. 122C-286. .

(b) At the supplemental hearing for a respondent who has moved or may move to another
county, the court shall determine if the respondent meets the criteria for commitment set out in
G.S. 122C-283(d)(1). If the court determines that the respondent no longer meets the criteria for
commitment, it shall discharge the respondent from the order and dismiss the case. If the court
determines that the respondent continues to meet the criteria for commitment, it shall continue
the commitment but shall designate an area autherity-facility or pliysician at the respondent's new
residence to be responsible for the management or supervision of the respondent's commitment.
The court shall order the respondent to appear for treatment at the address of the newly designated
area authorityfacility or physician and shall order venue for further court proceedings under the
commitment to be transferred to the new county of supervision. Upon an order changing venue,
the clerk of court in the county where the commitment has been supervised shall transfer the
records regarding the commitment to the clerk of court in the county where the commitment will
be supervised. Also, the clerk of court in the county where the commitment has been supervised

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shall send a copy of the court's order directing the continuation of treatment under new
supervision to the newly designated area autherityfacility or physician.
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SECTION 41, G.S. 122C-292 reads as rewritten:
"§ 122C-292. Rehearings.

(a) Fifteen days before the end of the initial or subsequent periods of commitment if the
area ity-facility or physician determines that the respondent continues to meet the criteria
specified in G.S. 122C-283(d)(1), the clerk of superior court of the county where commitment is
supervised shall be notified. The clerk, at least 10 days before the end of the commitment period,
on order of the district court, shall calendar the rehearing. If the respondent no longer meets the
criteria, the area autherity_facility or physician shall so notify the clerk who shall dismiss the
case.

(b)  Rehearings are governed by the same notice and procedures as initial hearings, and
the respondent has the same rights he-had-that_were available to the respondent at the initial
hearing including the right to appeal.

(c) If the court finds that the respondent no longer meets the criteria of
G.S. 122C-283(d)(1), it shall unconditionally discharge him. A copy of the discharge order shall
be furnished by the clerk to the designated area autherityfacility or physician. If the respondent
continues to meet the criteria of G.S. 122C-283(d)(1), the court may order commitment for
additional periods not in excess of 365 days each."

SECTION 42. G.S. 122C-293 reads as rewritten:
"§ 122C-293. Release by area autherityfacility or physician.

The area autherity-facility or physician as designated in the order shall discharge a committed
respondent unconditionally at any time he-the physician determines that the respondent no longer
meets the criteria of G.S. 122C-283(d)(1). Notice of discharge and the reasons for the release
shall be reported in writing to the clerk of superior court of the county in which the commitment
was ordered."

SECTION 43. G.S. 122C-294 reads as rewritten:
"§ 122C-294. Local | pleseplan and d data submission.

this—Part. The local olan in accordance with G.S, 122C-202.2 and G.S, 122C-251(g) shall be

submitted to the Division of Mental Health, Developmental Disabilities, and Substance Abuse
Services on or before October 1, 2019. If the area authority modifies the plan, the modified plan
shall be submitted to the Division of Mental Health, Developmental Disabilities, and Substance
Abuse Services at least 10 days prior to the effective date of the new plan.

(b) The Department shall provide the data collected by the Division of Mental Health,
Developmental Disabilities, and Substance Abuse. Services concerning the number of
respondents receiving treatment under involuntary commitment in designated facilities to the
Fiscal Research Division and the Joint Legislative Oversight Committee for Health and Human
Services on October 1 of each year beginning in 2019 and any other time upon request."

SECTION 44. Each LME/MCO shall submit to the Department of Health and
Human Services a copy of its current community crisis services plan adopted pursuant to
G.S. 122C-202.2, as enacted by this act, by the earlier of (4) 12 months after the date the
Department receives notification that the federal Centers for Medicaid and Medicare Services
has approved all necessary waivers and State Plan amendments for Medicaid and NC Health
Choice transformation as provided for in $.L. 2015-245, as amended, or (ii) six months prior to
the date the Department actually initiates capitated contracts with Prepaid Health Plans, as
defined in Section 4 of S.L. 2015-245, as amended, for the delivery of Medicaid and NC Health
Choice services. The Department shall notify each LME/MCO when the earlier of these
conditions occurs.

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SECTION 45.(a) G.S. 35A-1105 reads as rewritten:
"§$ 35A-1105. Petition before clerk.

A verified petition for the adjudication of incompetence of an adult, or of a minor who is
within six months of reaching majority, may be filed with the clerk by any person, including any
State or local human services agency or healthcare provider through its authorized
representative.representative without the need for legal counsel."

SECTION 45.(b) G.S. 35A-1112 reads as rewritten:
"§ 354-1112. Hearing on petition; adjudication order.

(b) The petitioner and the respondent are entitled to present testimony and documentary
evidence, to subpoena witnesses and the production of documents, and to examine and
cross-examine witnesses. If the petitioner is a State or local human service agency or a health
care provider, evidence may be presented without the need for legal counsel.

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SECTION 46. Sections 5(c1), 44, 45(a), and 45(b) of this act are effective when the
act becomes law. The remainder of this act becomes effective October 1, 2019, and applies to

proceedings initiated on or after that date.
In the General Assembly read three times and ratified this the 14" day of June, 2018.

s/f Philip E. Berger
President Pro Tempore of the Senate

s/ Tim Moore
Speaker of the House of Representatives

sf Roy Cooper
Governor

Approved 9:19 a.m. this 22"? day of June, 2018

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